     Case 2:21-cv-01530-AMM     Document 427     Filed 01/08/25   Page 1 of 6            FILED
                                                                                2025 Jan-08 PM 08:30
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


EVAN MILLIGAN, et al.,

             Plaintiffs,                         Case No. 2:21-cv-01530-AMM

               v.                                THREE-JUDGE COURT

WES ALLEN, et al.,

             Defendants.


                    MILLIGAN PLAINTIFFS’ NOTICE OF
                    FILING DEPOSITION DESIGNATIONS

      Plaintiffs hereby file their designations of the deposition transcripts they

intend to offer at trial in place of live testimony from Valerie Branyon, Chris

Brown, Randy Hinaman, Senator Steve Livingston, Senator Jim McClendon,

and Representative Chris Pringle. In submitting these designations, Plaintiffs do

not waive the right to seek to present any witness via the trial transcripts from

NAACP v. Allen, No. 2:21-cv-1531, subject to any agreement from Defendants.
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     1.   Plaintiffs’ designations are as follows:


                       PLAINTIFFS’ DESIGNATIONS

Date & Exhibit                 Transcript Pincite


July 24, 2024 Deposition of    8:20-25, 20:12-17, 25:2-26:4, 31:6-33:19,
Valerie Branyon: transcript    34:7-21, 57:23-58:5, 61:15-24, 66:18-68:8,
                               75:23-76:14, 93:3-18, 94:6-8, 102:5-103:1,
                               103:2-104:7, 104:23-105:18

June 18, 2024 Deposition of    18:1-3, 18:7-20:13, 22:3-9, 22:14-23:11,
Chris Brown: transcript        23:23-24:4, 25:3-17, 26:2-27:10, 27:15-
                               28:23, 30:6-20, 32:1-33:19, 36:2-5, 36:14-17,
                               37:17-19, 38:1-8, 38:23-39:15, 41:7-17,
                               52:11-23, 53:6-54:13, 54:17-55:3, 55:19-
                               58:2, 58:9-59:22, 61:7-62:18, 63:2-6, 64:5-7,
                               65:4-14, 66:2-5, 67:8-13, 67:16-17, 68:2-4,
                               68:9-18, 69:7-17, 70:1-71:10, 71:21-72:1,
                               73:8-75:1, 75:11-15, 76:14-17, 77:6-9, 77:17-
                               78:5, 78:11-14, 78:21-79:3, 79:16-20, 80:2-
                               81:21, 82:3-11, 82:18-83:2, 83:12-19, 88:16-
                               89:1, 89:16-23, 90:7-91:16, 92:11-13, 92:17-
                               93:4, 93:21-94:2, 95:13-96:7, 96:18-21,
                               97:15-18, 98:17-20, 99:12-22, 100:3-13,
                               100:20-101:1, 101:8-101:21, 102:10-16,
                               103:10-13, 121:9-22, 122:6, 122:11-124:2,
                               124:12-22, 132:1-5, 133:23-134:15, 135:16-
                               137:4, 137:11-139:5, 139:11-140:4, 140:14-
                               141:20

December 9, 2021 Deposition Entire Transcript
of Randy Hinaman: transcript

August 9, 2023 Deposition of   Entire Transcript
Randy Hinaman: transcript

August 9, 2023 Deposition of   Entire Transcript
Steve Livingston: transcript


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December 17, 2021              Entire Transcript
Deposition of Jim
McClendon: transcript

April 18, 2024 Deposition of   28:9-12, 34:6-11, 37:9-24, 39:5-14, 49:1-
Jim McClendon (Stone v.        50:12, 62:13-63:10, 66:6-14, 66:20-67:3,
Allen, No. 2:21-cv-01531):     78:3-19, 79:22-25, 80:4-11, 81:19-82:11
transcript

December 17, 2021              Entire Transcript
Deposition of Chris Pringle:
transcript

August 9, 2023 Deposition of   Entire Transcript
Chris Pringle: transcript




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     Respectfully submitted this 8th day of January 2025.

                                      Respectfully submitted,

/s/ Sidney M. Jackson                 /s/ Deuel Ross
Sidney M. Jackson (ASB-1462-          Deuel Ross*
K40W)                                 NAACP LEGAL DEFENSE &
Nicki Lawsen (ASB-2602-C00K)          EDUCATIONAL FUND, INC.
WIGGINS CHILDS PANTAZIS               700 14th Street N.W. Ste. 600
 FISHER & GOLDFARB, LLC               Washington, DC 20005
301 19th Street North                 (202) 682-1300
Birmingham, AL 35203                  dross@naacpldf.org
(205) 341-0498
sjackson@wigginschilds.com            Stuart Naifeh*
                                      Kathryn Sadasivan (ASB-517-E48T)
                                      Brittany Carter*
Shelita M. Stewart*                   Colin Burke*
Jessica L. Ellsworth*                 NAACP LEGAL DEFENSE &
HOGAN LOVELLS US LLP                  EDUCATIONAL FUND, INC.
555 Thirteenth Street, NW             40 Rector Street, 5th Floor
Washington, D.C. 20004                New York, NY 10006
(202) 637-5600                        (212) 965-2200
shelita.stewart@hoganlovells.com      snaifeh@naacpldf.org

David Dunn*                           Davin M. Rosborough*
HOGAN LOVELLS US LLP                  Theresa J. Lee*
390 Madison Avenue                    Dayton Campbell-Harris*
New York, NY 10017                    AMERICAN CIVIL LIBERTIES
(212) 918-3000                        UNION FOUNDATION
david.dunn@hoganlovells.com           125 Broad St.
                                      New York, NY 10004
Blayne R. Thompson*                   (212) 549-2500
HOGAN LOVELLS US LLP                  drosborough@aclu.org
609 Main St., Suite 4200
Houston, TX 77002                     Allison Mollman (ASB-8397-A33C)
(713) 632-1400                        Laurel Haddix (ASB-4592-E20I)
blayne.thompson@hoganlovells.com      AMERICAN CIVIL LIBERTIES
                                      UNION OF ALABAMA
                                      P.O. Box 6179
                                      Montgomery, AL 36106-0179

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                               (334) 265-2754
                               amollman@aclualabama.org

                               Michael Turrill*
                               Harmony A. Gbe*
                               HOGAN LOVELLS US LLP
                               1999 Avenue of the Stars
                               Suite 1400
                               Los Angeles, CA 90067
                               (310) 785-4600
                               michael.turrill@hoganlovells.com
                               harmony.gbe@hoganlovells.com


                               Counsel for Milligan Plaintiffs
                               *Admitted Pro Hac Vice


                               Janette Louard*
                               Anthony Ashton*
                               Anna Kathryn Barnes*
                               NATIONAL ASSOCIATION FOR THE
                               ADVANCEMENT OF COLORED
                               PEOPLE (NAACP)
                               4805 Mount Hope Drive
                               Baltimore, MD 21215
                               (410) 580-5777
                               jlouard@naacpnet.org
                               aashton@naacpnet.org
                               abarnes@naacpnet.org

                               Counsel for Plaintiff Alabama State
                               Conference of the NAACP
                               *Admitted Pro Hac Vice




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 8, 2025, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to counsel of record in this case.

                                               /s/ Deuel Ross
                                               Deuel Ross
                                               NAACP LEGAL DEFENSE &
                                                EDUCATIONAL FUND, INC.
                                               700 14th Street N.W. Ste. 600
                                               Washington, DC 20005
                                               (202) 682-1300
                                               dross@naacpldf.org




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